                                In the
                           Court of Appeals
                   Second Appellate District of Texas
                            at Fort Worth
                                  No. 02-22-00192-CV

MUSTANG PARK OWNERS                        §   On Appeal from the 16th District
ASSOCIATION, INC. AND LEGACY                   Court
SOUTHWEST PROPERTY
MANAGEMENT, LLC, Appellants                §   of Denton County (20-7230-16)

V.                                         §   August 22, 2024

CHRISTOPHER LUMLEY, Appellee               §   Memorandum Opinion by Justice
                                               Birdwell

                                     JUDGMENT

      This court has considered the record on appeal in this case and holds that there

was error in the trial court’s judgment.

      In accordance with Rule of Appellate Procedure 46.3, we suggest a remittitur of

$6,000. If Appellee Christopher Lumley files in this court within twenty days from the

date of this opinion and judgment a remittitur of $6,000, we will reform the trial

court’s judgment to

• award Lumley actual damages of $12,950 and affirm that part of the judgment only

as modified;
• reverse the part of the judgment holding Appellant Legacy Southwest Property

Management, LLC jointly and severally liable with Appellant Mustang Park Owners

Association, Inc. for the breach of contract damages and attorney’s fees and render a

take-nothing judgment as to Legacy;

• vacate the following paragraphs of the trial court’s judgment:

      IT IS FURTHER ORDERED by the Court that Defendant, Mustang
      Park Owner’s Association, Inc., LLC, shall repair the drainage system
      located on Lot 4x pursuant the below requirements which shall be listed
      within the scope of work:

            a. Runoff compounding along Lot 59 through Lot 48 created and
      eroded steeper side slopes. Curb integration between side slopes and the
      sidewalk;

            b. Greenbelt drainage currently converges and empties into the
      backyard of Lots 44 and 45. Installation of a subsurface drainage system
      to capture greenbelt runoff to effectively reduce erosion, confine
      drainage into well-defined boundaries, and eliminate overflows onto
      Lots 44 and Lot 45;

             c. Approximately four 24-inch drains, 1,500 linear feet of 12-inch
      pipe, and other material and all labor required to install a subsurface
      drainage system beneath the greenbelt;

             d. Installation of a brick retaining wall (approximately 200 square
      feet) offsetting the property boundary of Lots 42 through 44 to absolve
      erosion of steep side slopes in that arena;

             e. A subsurface system interconnecting downspouts while
      spanning the side and backyards of Lots 44 and Lot 45 to eradicate
      surface drainage and erosion. A subsurface drainage system to capture
      Greenbelt drainage must be implemented for effective lot drainage.

             IT IS FURTHER ORDERED, ADJUDGED and DECREED
      by the Court that Defendant, Mustang Park Owner’s Assocition [sic],
      Inc., shall pay all expenses, goods, equipment, and labor necessary for
      the installation of a new, properly functioning drain in the common area
      behind Plaintiff’s property located at [home address redacted] on Lot 4x,
       as well as all stone surrounding Plaintiff’s property located at [home
       address redacted] necessary to ensure proper drainage in the common
       area to avoid flooding of Plaintiff’s property located at [home address
       redacted].

              IT IS FURTHER ORDERED, ADJUDGED and DECREED
       by the Court that Defendant, Mustang Park Owner’s Assocition [sic],
       Inc., shall repair and make ongoing additional repairs to the drainage
       system located within the common areas and Lot 4x in the future to
       ensure that there is not a drainage or flooding problem that affects
       Plaintiff’s property located at [home address redacted];

• vacate most of the trial court’s second declaration as follows: “Mustang Park

Owner’s Association, Inc. is legally responsible for the repair, . . . re-installation, and

ensuring the full functionality of the drain located on Lot 4x, the Common Area

behind Plaintiff’s property . . . .”;

• modify the judgment so that the declaratory relief reads as follows:

       THE COURT FURTHER JUDICIALLY DECLARES that:

       a. Mustang Park Owner’s Association, Inc is legally responsible for the
       maintenance and upkeep of the field (Lot 4x) behind Plaintiff’s property
       located at [home address redacted] due to the field being a Common
       Area; and

       b. Mustang Park Owner’s Association, Inc. is legally responsible for the
       upkeep of the drain located on Lot 4x, the Common Area behind
       Plaintiff’s property located at [home address redacted].

and affirm that part of the judgment as modified; and

• reverse the attorney’s fees award and remand the case for a recalculation of those

fees as to the Association only.

       If the suggested remittitur is not timely filed, we will
• reverse the part of the judgment holding Legacy jointly and severally liable with

Mustang Park for breach-of-contract damages and attorney’s fees and render a take-

nothing judgment as to Legacy;

• vacate most of the trial court’s second declaration as follows: “Mustang Park

Owner’s Association, Inc. is legally responsible for the repair, . . . re-installation, and

ensuring the full functionality of the drain located on Lot 4x, the Common Area

behind Plaintiff’s property . . . .”;

• modify the judgment so that the declaratory relief reads as follows:

       THE COURT FURTHER JUDICIALLY DECLARES that:

       a. Mustang Park Owner’s Association, Inc is legally responsible for the
       maintenance and upkeep of the field (Lot 4x) behind Plaintiff’s property
       located at [home address redacted] due to the field being a Common
       Area; and

       b. Mustang Park Owner’s Association, Inc. is legally responsible for the
       upkeep of the drain located on Lot 4x, the Common Area behind
       Plaintiff’s property located at [home address redacted].

and affirm that part of the judgment as modified;

• reverse the part of the judgment awarding actual damages and specific-performance

damages for breach of contract, and the part of the judgment awarding attorney’s

fees, and remand the case for a new trial on the breach of contract claim only and for

a recalculation of attorney’s fees as to the Association only.
      It is further ordered that Lumley shall pay all costs of this appeal, for which let

execution issue.


                                      SECOND DISTRICT COURT OF APPEALS


                                      By /s/ Wade Birdwell
                                         Justice Wade Birdwell
